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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

 DIGITAL MEDIA SOLUTIONS, LLC,                  ) CASE NO. 1:19-cv-145
                                                )
                      Plaintiff,                ) JUDGE DAN AARON POLSTER
                                                )
        v.                                      )
                                                )
 SOUTH UNIVERSITY OF OHIO,                      )
 LLC, et. al.,                                  )
                                                )
                      Defendants.               )


                 Order Granting the Receiver’s Motion to Approve
                     Distribution Per Settlement Agreement


       The Court now considers what should be the final motion filed in the within

matter regarding what should be the final steps to be taken to conclude the matter.

After years of litigation, the Court successfully assisted the Receiver and key former

officers and directors in finding a resolution of the Receiver’s claims against them. Part

of that resolution involved the resolution of a related case against certain of the

Receivership Entities by certain of their former students. That matter was captioned

Emmanuel Dunagan, et al. v. Illinois Institute of Art-Chicago, LLC, et al., N.D. Illinois

Case No. 1:19-cv-809 (“Dunagan”). Per the parties’ agreement, the settlement of the

within matter was contingent upon the entry of a final, non-appealable approval of the

settlement of the Dunagan matter. It having been brought to this Court’s attention that

the Dunagan matter’s settlement is now approved with a final non-appealable order of

the Northern District of Illinois, it is time to authorize the Receiver to make the

distribution contemplated in the settlement this Court approved in November 2024

(ECF No. 852).


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       The Receiver’s Motion to Approve Distribution Per Settlement Agreement is

hereby approved and he is hereby instructed to transfer the funds he holds in escrow to

accounts held in the name of the Litigation Liquidation Trust this Court approved in

November 2024 (ECF No. 858). The Court expects the Trust to make distributions of

those funds per its Section 3.2.

       While the distribution to the Trust should be the final step needed to resolve this

matter, this Court will retain jurisdiction over this matter, and the Trust, to ensure the

Trust serves its intended purposes.


       IT IS SO ORDERED.


                                                                             3/7/2025
                                          DAN AARON POLSTER
                                          UNITED STATES DISTRICT JUDGE

Respectfully submitted,

MCCARTHY, LEBIT, CRYSTAL
& LIFFMAN CO., L.P.A.

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